          Case 2:20-cv-00217-SMJ                   ECF No. 86        filed 09/24/20       PageID.17170 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                    FILED IN THE
                                                                                                          U.S. DISTRICT COURT
                                                     Eastern District of Washington                 EASTERN DISTRICT OF WASHINGTON


                      PAMELA LYNCH
                                                                                                     Sep 24, 2020
                                                                     )                                    SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-cv-00217-SMJ
                                                                     )
           ETHICON INC., ETHICON LLC, and                            )
               JOHNSON & JOHNSON

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendants’ Motion for Summary Judgment (ECF No. 37) is GRANTED.
’
              Counts I–XV of Lynch’s Complaint (ECF No. 1) are DISMISSED WITH PREJUDICE.
              Judgment entered in favor of Defendants Johnson & Johnson, Ethicon, Inc., and Ethicon LLC.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge          SALVADOR MENDOZA, JR.                                              on a motion for
      Summary Judgment (ECF No. 37).


Date: 9/24/2020                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Lee Reams
                                                                                          (By) Deputy Clerk

                                                                            Lee Reams
